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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,

              Plaintiffs,

      v.                                              Civil Action No. 1:25-cv-352 (CJN)

DONALD TRUMP, et al.,

              Defendants.


                                              NOTICE

       The government submitted a Notice of Related Case, ECF No. 28, in which it suggests that

two actions currently pending in this District are related to this earlier-filed action and should be

transferred to this Court pursuant to Local Civil Rules 40.5(a)(3) and 40.5(c)(1). The Court has

reviewed those other cases, AIDS Vaccine Advocacy Coalition v. United States Department of

State (No. 25-cv-400) and Global Health Council v. Trump (No. 25-cv-402), and concludes that

they are not related to this one in the manner contemplated by the Local Rules.

       The AIDS Vaccine and Global Health plaintiffs either are or represent American businesses

and nonprofits that, prior to the 90-day pause on foreign assistance funding effected by Executive

Order 14,169, received federal grant money from the State Department and USAID. See AIDS

Vaccine, ECF No. 17 (Ali TRO) at 1; Glob. Health, ECF No. 21 (Ali TRO) at 1. The plaintiffs in

those cases sought and received a TRO against implementation of the Executive Order’s blanket

funding freeze on the basis that they would suffer irreparable harm from being “forced to shut

down programs, to furlough or lay off employees, and in some instances to shutter altogether as a

result of the challenged action.” Ali TRO at 2, 13–15.


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       By contrast, the plaintiffs in this case are—at least for purposes of the preliminary

injunction stage—unions that represent USAID employees. See ECF No. 15 (TRO) at 1. Those

plaintiffs sought preliminary injunctive relief (including a TRO) primarily on the basis that certain

actions at USAID would inflict irreparable harm upon their members in their capacities as USAID

employees. See id. at 2–6. It was in light of those alleged workplace harms, such as the asserted

risk to the physical safety of USAID employees stationed abroad, that the Court granted in part

plaintiffs’ TRO motion. See id. at 2–6.

       Under the Local Rules, cases are related when, among other considerations not applicable

here, they “involve common issues of fact” or “grow out of the same event or transaction.” LCvR

40.5(a)(3). But the factual questions in a case brought by employees against their employer are

significantly different from those in a case brought by grant recipients against their grantor. In this

case, the Court’s analysis has focused on the effect of the government’s actions on USAID’s

internal workplace dynamics; in the other cases, the inquiry has trained on their effects on the

economic prospects and mission-capabilities of organizations wholly external to USAID.

Compare TRO at 2–6 with Ali TRO at 5–6.

       It may be true that, at a high level, this case and the other two all “grow out of” Executive

Order 14,169. See ECF No. 28 at 2. But if this litigation progressed to the point where the legality

of the Executive Order was squarely at issue, the daylight between this case and the others would

likely only grow. In this case, the government has argued that the Court lacks Article III

jurisdiction over certain of plaintiffs’ claims because USAID employees lack standing to challenge

the funding freeze itself, and further that the Court lacks subject-matter jurisdiction because federal

employment claims must be adjudicated in the first instance by either the MSPB or the FLRA. See

ECF No. 20 at 11–22. In AIDS Vaccine and Global Health, the government appears to have argued



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that certain of the relevant contracts permit the government’s actions (an argument that seems not

to be relevant here). See Ali TRO at 10. And while the government might make jurisdictional

arguments in AIDS Vaccine and Global Health, they would surely be different ones—such as,

perhaps, whether contract-based claims must be litigated in another forum.

         In sum, the Court has concluded that Case Nos. 25-cv-400 and 25-cv-402 are not currently

related to this case, No. 25-cv-352. There shall be no change in the current assignment of these

cases.




DATE: February 14, 2025                                     ________________________
                                                            CARL J. NICHOLS
                                                            United States District Judge




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